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                                                                             2021 Jan-11 AM 11:42
                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ALABAMA
                            SOUTHERN DIVISION

JAMES BROUGHTON,                               )
                                               )
                                               )
         Plaintiff,                            )
                                               ) Case No. 2:20-CV-00728-AKK
v.                                             )
                                               )
LIFE INSURANCE COMPANY                         )
OF NORTH AMERICA; OPTIV                        )
SECURITY LIFE AND DISABILITY                   )
PLAN; OPTIV SECURITY INC.,                     )
                                               )
         Defendants.                           )


             JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       COME NOW the Plaintiff, James Broughton (“Plaintiff”), and Defendants

Life Insurance Company of North America, Optiv Security Life and Disability

Plan and Optiv Security Inc. (collectively, “Defendants”), by and through their

undersigned counsel, and agree and stipulate that the above-styled action and all

claims contained therein should be dismissed with prejudice against Defendants

with each party to bear its own costs.

       Dated this 11th day of January, 2021.




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LEWIS & FELDMAN, LLC                           MAYNARD, COOPER & GALE, P.C.


By: s/ Jon E. Lewis ______________             By: _s/ Grace R. Murphy__________
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